                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SCOTTIE THOMAS,                                   )
                                                  )
               Plaintiff,                         )
                                                  )    08 C 3321
       v.                                         )
                                                  )    Judge George M. Marovich
LAKE COUNTY JAIL, DR. VAKURIY,                    )
DR. MUGHAL, DAVID PADILLA,                        )
and TOYA COLEMAN,                                 )
                                                  )
               Defendants.                        )

                            MEMORANDUM OPINION AND ORDER

       Plaintiff Scottie Thomas (“Thomas”) filed a complaint against defendants Lake County

Jail, Dr. Vakuriy, Dr. Mughal, David Padilla and Toya Coleman.1 Plaintiff brought suit under §

1983 and alleged that defendants were deliberately indifferent to his need for pain medication

and physical therapy. Defendants Dr. Vakuriy, Dr. Mughal, David Padilla and Toya Coleman

move for summary judgment.2 For the reasons set forth below, the Court grants the motion.

I.     Background

       Local Rule 56.1 outlines the requirements for the introduction of facts parties would like

considered in connection with a motion for summary judgment. The Court enforces Local Rule

56.1 strictly. Facts that are argued but do not conform with the rule are not considered by the

Court. For example, facts included in a party’s brief but not in its statement of facts are not

considered by the Court because to do so would rob the other party of the opportunity to show

that such facts are disputed. Where one party supports a fact with admissible evidence and the



       1
        According to defendants, plaintiff improperly named defendant Venkata Vallury, M.D.
as Dr. Valuriy and improperly named Toi Savage, R.N. as Toya Coleman.
       2
        Defendant Lake County Jail was previously dismissed from this suit.
other party fails to controvert the fact with citation to admissible evidence, the Court deems the

fact admitted. See Ammons v. Aramark Uniform Services, Inc., 368 F.3d 809, 817-818 (7th Cir.

2004). This does not, however, absolve the party putting forth the fact of its duty to support the

fact with admissible evidence. Here, plaintiff has failed to respond to defendants’ motion for

summary judgment.3 The Court does not deem every fact put forth admitted; rather, the Court

carefully considers whether each asserted fact is supported by admissible evidence. Asserted

“facts” not supported by deposition testimony, documents, affidavits or other evidence

admissible for summary judgment purposes are not considered by the Court. Defendants failed

to support fact paragraphs 2-6 with admissible evidence. Those facts are not deemed admitted.

The remainder of defendants facts were supported by admissible evidence, and those facts are

deemed admitted.

       The following facts are disputed.

       Plaintiff Thomas was incarcerated as a pre-trial detainee in the Lake County Jail between

December 23, 2007 and June 4, 2008. When he was released from the Lake County Jail, he was

taken into custody by the Illinois Department of Corrections. Plaintiff claims that he was denied

pain medication in January and February of 2008 and that he was denied physical therapy

between January and May of 2008.

       During his intake at the Lake County Jail, Thomas was provided a copy of the Inmate

Manual. The Inmate Manual contained, among other things, a copy of the grievance policy for

the Lake County Jail. The grievance policy states:



       An inmate grievance procedure is made available to all inmates and includes at
       least one level of appeal. The Lake County Adult Correctional Division staff


       3
        Plaintiff is proceeding pro se. Defendants served Thomas with the Notice to Pro Se
Litigants Opposing Summary Judgment that is required by Local Rule 56.2.

                                                -2-
       makes every attempt to resolve any inmate problems in an informal manner. If
       you find that the resolution that you receive for your problem is not adequate, you
       may file an inmate grievance. See your pod officer for a grievance form.

       The officer will ask what the grievance is for, in order to determine if your
       situation can be resolved without filing a grievance. An answer is expected,
       unless it is a report of sexual harassment. On the form briefly describe the
       circumstances surrounding the grievance and how you would like the issue
       resolved, then return it to the pod officer. The officer will give you the pink copy
       of the form and forward the original to the grievance coordinator. The grievance
       committee will investigate and review your concern. You will receive a written
       response back within seven days of filing the grievance. You may appeal the
       decision of the grievance committee by submitting an appeal to the Chief of
       Corrections. The Chief’s (or his designee’s) decision is final.

(Emphasis added).

       Thomas never appealed any decisions with respect to the denial of pain medication in

January and February of 2008 or with respect to the denial of physical therapy between January

and May of 2008.

II.    Summary Judgment Standard

       Summary judgment should be granted when “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(c). When making such a determination, the Court must construe the

evidence and make all reasonable inferences in favor of the non-moving party. See Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). Summary judgment is appropriate, however,

when the non-moving party “fails to make a showing sufficient to establish the existence of an

element essential to the party’s case, and on which that party will bear the burden of proof at

trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “A genuine issue of material fact

arises only if sufficient evidence favoring the nonmoving party exists to permit a jury to return a




                                                 -3-
verdict for that party.” Brummett v. Sinclair Broadcast Group, Inc., 414 F.3d 686, 692 (7th Cir.

2005).

III.     Discussion

         Defendants argue that they are entitled to summary judgment on plaintiff’s § 1983 claim

because plaintiff has failed to exhaust his administrative remedies. Prisoners must exhaust

administrative remedies before filing a prison conditions suit under § 1983. Woodford v. Ngo,

548 U.S. 81, 85 (2006); 42 U.S.C. § 1997e(a). To do so, a prisoner “must file complaints and

appeals in the place, and at the time, the prison’s administrative rules require.” Pozo v.

McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002). Failure to exhaust is an affirmative defense,

so defendants have the burden of proof. Obriecht v. Raimisch, 517 F.3d 489, 492 (7th Cir.

2007).

         Here, the undisputed facts show that Thomas failed to exhaust his administrative

remedies before filing suit. It is undisputed that Lake County Jail’s grievance policy required

Thomas to appeal any decisions with respect to his requests for pain medication and physical

therapy. It is undisputed that Thomas never filed any appeals. Accordingly, it is clear as a

matter of law that Thomas failed to exhaust his administrative remedies. Defendants are entitled

to judgment as a matter of law on plaintiff’s claims. The Court grants defendants’ motion for

summary judgment.




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IV.   Conclusion

      For the reasons set forth above, the Court grants the motion for summary judgment.

                                          ENTER:




                                          George M. Marovich
                                          United States District Judge

DATED: January 12, 2010




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